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                          United States District Court
                           Middle District of Florida
                               Orlando Division


ADELBERT SETH DEWEES, II,

            Plaintiff,

v.                                                  NO. 6:21-cv-328-GKS-PDB

ACTING COMMISSIONER OF SOCIAL SECURITY,

            Defendant.



                         Report & Recommendation

      This is an action under 42 U.S.C. §§ 405(g) and 1383(c)(3) to review a final
decision of the Acting Commissioner of Social Security denying Adelbert Dewees’s
applications for disability insurance benefits and supplemental security income.
Doc. 1. The Acting Commissioner answered the complaint and filed the
administrative record. Docs. 17, 19.

      The Acting Commissioner now moves for an order reversing the Acting
Commissioner’s final decision and remanding the action to “obtain updated
evidence from a vocational expert; resolve any apparent conflicts between the
vocational expert’s evidence and the Dictionary of Occupational Titles; offer
Plaintiff the opportunity for a new hearing; and issue a new decision.” Doc. 24 at
1. Dewees has no objection. Doc. 24 at 1–2.

      When reviewing a final decision of the Acting Commissioner, a district
court may “enter, upon the pleadings and transcript of the record, a judgment
affirming, modifying, or reversing the decision … with or without remanding the
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cause for a rehearing.” 42 U.S.C. § 405(g); see 42 U.S.C. § 1383(c)(3)
(incorporating § 405(g)).

       Considering the absence of opposition and the authority above, I
recommend:

       1. granting the Acting Commissioner’s motion to remand, Doc. 24;

       2. reversing the Acting Commissioner’s decision under sentence
          four of 42 U.S.C. § 405(g) and under § 1383(c)(3);

       3. remanding the action for the Acting Commissioner to “obtain
          updated evidence from a vocational expert; resolve any apparent
          conflicts between the vocational expert’s evidence and the
          Dictionary of Occupational Titles; offer Plaintiff the opportunity
          for a new hearing; and issue a new decision”; and

       4. directing the clerk to enter judgment in favor of Adelbert
          Dewees, II, and against the Acting Commissioner of Social
          Security and close the file.*

       Entered in Jacksonville, Florida, on October 15, 2021.




       *Within   14 days after being served with a copy of [a report and recommendation on a
dispositive motion], a party may serve and file specific written objections to the proposed
findings and recommendations.” Fed. R. Civ. P. 72(b)(2). “A party may respond to another party’s
objections within 14 days after being served with a copy.” Id. A party’s failure to serve and file
specific objections to the proposed findings and recommendations alters the scope of review by
the District Judge and the United States Court of Appeals for the Eleventh Circuit, including
waiver of the right to challenge anything to which no specific objection was made. See Fed. R.
Civ. P. 72(b)(3); 28 U.S.C. § 636(b)(1)(B); 11th Cir. R. 3-1.
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